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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               ALBANY DIVISION

BRADY TANNER et al.,                       :
                                           :
       Plaintiffs,                         :
                                           :
v.                                         :      CASE NO.: 1:12-CV-33 (WLS)
                                           :
TPUSA, INC.,                               :
                                           :
       Defendant.                          :
                                           :
                                          ORDER
       On December 3, 2015, the Parties participated in a mediation session with United
States Magistrate Judge Thomas Q. Langstaff. On January 4, 2016, the Parties filed their
settlement agreement with the Court. If the Parties wish to dismiss any of the remaining
claims, they should file a joint proposed order of dismissal (with or without prejudice,
depending on the Parties’ agreement). The Parties are hereby ORDERED to file such no
later than seven (7) days after entry of this Order or file with the Court a motion for
additional time containing a written statement as to why additional time is needed.
       SO ORDERED, this 6th day of January, 2016.
                                           /s/ W. Louis Sands______________________
                                           W. LOUIS SANDS, SR. JUDGE
                                           UNITED STATES DISTRICT JUDGE
